Case 23-12825-MBK        Doc 1022-1 Filed 07/12/23 Entered 07/12/23 20:55:55            Desc
                            Motion to Disqualify Page 1 of 6



  MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC
  Clayton L. Thompson, Esq.
  cthompson@mrhfmlaw.com
  Suzanne M. Ratcliffe, Esq.
  sratcliffe@mrhfmlaw.com
  150 West 30th Street, Suite 201
  New York, NY 10001
  Tel: (800) 358-5922

  Counsel for Mesothelioma Plaintiff Katherine Tollefson
  and Certain Mesothelioma Plaintiffs

                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

 In re:                                        )
                                               )   Chapter 11
          LTL MANAGEMENT LLC,                  )
                                               )   Case No: 23-12825-MBK
          Debtor.                              )
                                               )   Hearing Date: August 2, 2023

             MRHFM’S PLAINTIFFS’ MOTION TO DISQUALIFY
RANDI S. ELLIS AS LEGAL REPRESENTATIVE FOR FUTURE TALC CLAIMANTS

          “An FCR must be able to act in accordance with a duty of independence from the

debtor and other parties in interest in the bankruptcy, a duty of undivided loyalty to the

future claimants, and an ability to be an effective advocate for the best interests of the

future claimants.” In re Imerys Talc America, Inc., 38 F.4th 361, 374 (3d Cir. 2022).

          This case must be dismissed. If it is not, while the appeal is pending, MRHFM

urges the Court to remove Randi S. Ellis as the FCR. Below is a photograph taken of Ms.

Ellis (without her counsel present) on the evening of June 28th, with Mikal Watts (AHC



                                              1
Case 23-12825-MBK      Doc 1022-1 Filed 07/12/23 Entered 07/12/23 20:55:55           Desc
                          Motion to Disqualify Page 2 of 6



member), James Onder (AHC member), and James Murdica (Johnson & Johnson’s

outside negotiation counsel) at Ruth’s Chris Steak House in Princeton, New Jersey. All

three men represent clients with interests adverse to Ms. Ellis’ constituency, and all

testified earlier that day in support of J&J’s embarrassing bankruptcy scam.

       The photograph cannot be considered in a vacuum. The Court appointed Ms. Ellis

(Dkt. 551) over the objections of the United States Trustee (Dkt. 321), the TCC (Dkts. 311

& 436), Paul Crouch (Dkt. 318) and MRHFM (Dkts. 320 & 438). That order is on appeal to

the District Court. See Dkt. 608. Ms. Ellis is aware of the parties’ opposition to her

appointment; she filed declarations in response (see Dkts. 354 & 415) and was in court on

May 3rd when these matters were heard.

       Appearances matter, especially with all the above in mind. Therefore, this image

reveals the appearance of impropriety, at best. At worst, it shows—again—Ms. Ellis’

inability to satisfy her fiduciary duties to operate independent from J&J and to protect

future victims against the Company’s obvious assault on their Constitutional rights and

state law remedies. Johnson & Johnson wants to deprive thousands of future victims of

the right to choose for themselves what to do when diagnosed with a talc caused cancer,

and the Company thinks it can pull it off with the FCR’s approval.

       Ms. Ellis was in court on June 28th when Mr. Murdica testified as much (Tr.

6/28/23, 130-31):




                                            2
Case 23-12825-MBK   Doc 1022-1 Filed 07/12/23 Entered 07/12/23 20:55:55   Desc
                       Motion to Disqualify Page 3 of 6




                                  -----------




                                      3
Case 23-12825-MBK      Doc 1022-1 Filed 07/12/23 Entered 07/12/23 20:55:55         Desc
                          Motion to Disqualify Page 4 of 6



      Despite hearing this, and being aware of the wide-spread objections to her

appointment, Ms. Ellis dined out with J&J’s chief negotiator and two AHC members at a

posh restaurant, just hours after each took the stand:




      There were already serious concerns regarding Ms. Ellis’ interactions with J&J and

Mr. Murdica during the clandestine planning of LTL2. This picture of Ms. Ellis—who

conspicuously took no position regarding the fraudulent and contrived “cancellation” of

the 2021 Funding Agreement—validates MRHFM’s plaintiffs’ objections and shows their

concerns about potential collusion are not unfounded.

      Admittedly, there is no case on point involving the disqualification of an FCR to

avoid the appearance of impropriety. But never has a $450 billion non-debtor tortfeasor

(with its own independent non-derivative liability) forced its stooge to file a second

                                            4
Case 23-12825-MBK             Doc 1022-1 Filed 07/12/23 Entered 07/12/23 20:55:55                           Desc
                                 Motion to Disqualify Page 5 of 6



petition two hours after its first one was dismissed under Third Circuit mandate, and

after having secretly garnered the FCR’s support before doing so. This Court should be

guided by general principles aimed at preventing the appearance of impropriety, and the

cases involving perceived conflicts of interest between lawyers, clients and judges are

instructive.12

        This Motion is sure to draw the ire of Ms. Ellis’ lawyers, who have previously

argued MRHFM was being “venomous” or “inflammatory” for challenging the FCR’s

positions or opposing her fee applications. It’s not personal. Ms. Ellis may well be as

wonderful as her counsel said she is on May 3rd. But she’s breached her duty to future

plaintiffs. Dining out with the half-trillionaire tortfeasor’s lawyer—as that tortfeasor is




1 In cases involving conflicts of interest: “New Jersey state and federal courts have consistently held that
the appearance of impropriety doctrine is not intended to prevent any actual conflicts, but rather to ‘bolster
the public['s] confidence in the integrity of the legal profession.’” In re Cendant Corp. Sec. Litig., 124 F. Supp.
2d 235, 245 (D.N.J. 2000) (citing State v. Loyal, 164 N.J. 418, 753 A.2d 1073 (2000) (citations omitted); Essex
Chemical Corp. v. Hartford Accident and Indemnity Co., 993 F.Supp. 241, 253 (D.N.J.1998)). The determination
is “highly fact-intensive; it does not occur in a vacuum.” Loyal, 753 A.2d at 1080 (citing In re Opinion No.
415, 81 N.J. 318, 325, 407 A.2d 1197 (1979)).
2 In cases involving judicial recusals: the relevant inquiry is whether a “reasonable observer” considering

the “totality of the circumstances” would believe that the court was acting “based upon bias, prejudice, or
any other improper motive.” Butt v. United Bhd. of Carpenters & Joiners of Am., 999 F.3d 882, 891 (3d Cir.
2021). “To promote public confidence in the integrity of the judicial process,” recusal under Section 455(a)
“does not depend upon whether or not the judge actually knew of facts creating
an appearance of impropriety, so long as the public might reasonably believe that he or she knew.” Grant
v. Slattery, No. CV 22-00941 (FLW), 2023 WL 1770850, at *1 (D.N.J. Jan. 30, 2023). A party seeking recusal
“need not show actual bias on the part of the court, only the possibility of bias.” Selkridge v. United of Omaha
Life Ins. Co., 360 F.3d 155, 167 (3d Cir. 2004) (quoting In re Prudential Ins. Co. of America Sales Practices
Litigation, 148 F.3d 283, 343 (3d Cir. 1998)).


                                                        5
Case 23-12825-MBK       Doc 1022-1 Filed 07/12/23 Entered 07/12/23 20:55:55        Desc
                           Motion to Disqualify Page 6 of 6



attempting to capture future victims and cram down current ones—is too much to

stomach.

       MRHFM represents fourteen mesothelioma victims diagnosed after the FCR filed

her legally unsupported “Statement” on July 15, 2022. These plaintiffs—all poisoned by

J&J’s talc and “future claimants” at the time Ms. Ellis espoused these views—reject Ms.

Ellis’s positions and stand on their Constitutional rights.

       Before the Court is a significant appearance of impropriety and collusion. How

can victims of J&J’s asbestos-tainted products have faith that the FCR is acting

independently of the tortfeasor and not being influenced by fraternizing with its lawyer

during a critical moment in the case? They cannot.

Sincerely:

MAUNE RAICHLE HARTLEY
FRENCH & MUDD, LLC




____________________
Clayton L. Thompson, Esq.
MAUNE RAICHLE HARTLEY
FRENCH & MUDD, LLC
150 W. 30th Street, Suite 201
New York, NY 10001
(800) 358-5922
cthompson@mrhfmlaw.com




                                             6
